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 1                IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
 2                           TAMPA DIVISION
 3
 4   MELANIE NICOLE MOORE,           )
                                     )
 5                 Plaintiff,        )
                                     )
 6                                   ) Case No.
             vs.                     ) 8:20-CV-02184-MSS-SPF
 7                                   )
                                     )
 8   POOCHES OF LARGO, INC., et al., )
                                     )
 9                 Defendants.       )
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     ____________________________________________________________
12
                     PRELIMINARY PRETRIAL CONFERENCE
13                   taken via Zoom videoconference
14                BEFORE THE HONORABLE MARY S. SCRIVEN
                      UNITED STATES DISTRICT JUDGE
15
                               JULY 26, 2023
16                               1:33 P.M.
                              TAMPA, FLORIDA
17   ____________________________________________________________
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22             Proceedings recorded by mechanical stenography,
     transcript produced using computer-aided transcription.
23   ____________________________________________________________
24                     DAVID J. COLLIER, RMR, CRR
                    FEDERAL OFFICIAL COURT REPORTER
25                801 NORTH FLORIDA AVENUE, 7TH FLOOR
                        TAMPA, FLORIDA 33602
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 2
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 4
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10
11   FOR THE DEFENDANTS:
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 1                             P R O C E E D I N G S
 2                                - - - o0o - - -
 3                THE COURT:    Good afternoon.     Call the case, please.
 4                COURTROOM DEPUTY:    Court calls Case Number
 5   8:20-CV-184-MSS-SPF, Moore versus Pooches of Largo, Inc.,
 6   et al.
 7                Counsel, please state your name for the record,
 8   starting with counsel for plaintiffs.
 9                THE COURT:    Ms. Moore, state your name for the
10   record.
11                MS. MOORE:    Melanie Moore.
12                THE COURT:    Are you alone, Ms. Moore, or do you have
13   counsel or an assistant with you?
14                MS. MOORE:    I do not.    I am pro se.
15                THE COURT:    But are you alone?
16                MS. MOORE:    I am alone, yes.
17                THE COURT:    All right.   And for the defense?
18                MR. SARELSON:    Good afternoon, Your Honor.
19   Matthew Sarelson for defendants.
20                THE COURT:    And are you alone or are you with someone
21   as well?
22                MR. SARELSON:    I believe my colleague, Zach Stoner,
23   is supposed to be on, but he's in the office and I don't -- I'm
24   not, so --
25                THE COURT:    What is the name?
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 1             MR. SARELSON:        Zachary Stoner, Your Honor.
 2             THE COURT:     Mr. Stoner, are you on the phone?
 3             MR. STONER:     Yes, I am.
 4             THE COURT:     And who just entered the call?
 5             MR. JACKSON:     Hi, Judge Scriven.     This is your law
 6   clerk, Elliott Jackson.
 7             THE COURT:     Thank you.
 8             All right.     Ms. Moore, we're here for the purpose of
 9   conducting sort of a preliminary pretrial conference because
10   the parties for some reason have not submitted any of their
11   pretrial materials.     The Court has resolved the summary
12   judgment motion, the case will have to be tried, and so I am
13   trying to get a sense of how long this trial will last.           So the
14   first question toward that determination is how many witnesses
15   the parties anticipate calling.
16             Ms. Moore, how many witnesses will you be calling?
17             MS. MOORE:     Um, one additional besides Mr. Marquez.
18             THE COURT:     One additional besides whom?
19             MS. MOORE:     Besides Mr. Marquez.
20             THE COURT:     Who is that person?
21             MS. MOORE:     A defendant.
22             THE COURT:     No.    Who is the one additional?
23             MS. MOORE:     Oh, I'm sorry.     Richard Celler.
24             THE COURT:     And how long do you anticipate their
25   testimony to be?
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 1               MS. MOORE:   Probably about 30 minutes.
 2               THE COURT:   30 minutes each?
 3               MS. MOORE:   Yes, ma'am.
 4               THE COURT:   And Mr. Celler is coming voluntarily, or
 5   you are having to issue a summons to him?
 6               MS. MOORE:   Um, I'm going to have to obtain another
 7   subpoena, because I'm trying to get his testimony at a
 8   deposition but he refused to -- he opposed the subpoena and
 9   refused to appear, so -- he wouldn't tell me why, he wouldn't
10   tell me what his objection was, so I couldn't fix it, because
11   I didn't know what it was, you know, so -- and I couldn't,
12   you know, just guess what he was talking about, so I was going
13   to ask the Court actually for help with that, getting a
14   subpoena.
15               THE COURT:   Counsel, are you whispering across the
16   call?
17               What do you believe he has relevant testimony about?
18               MS. MOORE:   Well, he can attest to -- he represented
19   me initially back in 2018, so he's aware of the facts of my
20   case, and some of it pertains to the fraud count.
21               THE COURT:   What about the fraud count do you believe
22   he will testify about?    The whole business about them
23   threatening to grieve him if he pursued the claim and the basis
24   for the assertion that they asserted that you modified their
25   document?
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 1             MS. MOORE:   Yes.    I mean, that's part of it.       I mean,
 2   Mr. Sarelson stated in his correspondence when he replied to
 3   the demand letter that Mr. Celler had sent him an altered wage
 4   agreement, which doesn't exist, you know, it wasn't even for my
 5   position, and I didn't alter anything, so -- and when I asked
 6   Mr. Celler about it, he didn't deny it, and he didn't -- he
 7   refused to even acknowledge the question or much less answer
 8   it, you know, so, I mean, apparently the two attorneys were in
 9   some sort of agreement to say that, you know, and that speaks
10   to the fraud count, because, I mean, it wasn't just a fraud in
11   the job that got posted, it was perpetuated and perpetuated in
12   the last five years, you know, in an effort to conceal the wage
13   theft and the retaliation.
14             THE COURT:   Are you working now, Ms. Moore?
15             MS. MOORE:   No, I'm not.
16             THE COURT:   Have you worked since you were
17   terminated?
18             MS. MOORE:   No, I haven't.    I mean, I'm homeless.
19   I don't have transportation.     I don't have clothes.   I don't
20   have anything.   I don't have a computer, you know.      I lost
21   everything that was in my storage unit, you know, so I lost
22   everything but my clothes that I was wearing.     I lost my birth
23   certificate, my Social Security card, I mean, everything, and
24   nobody wants to -- nobody wants to hire somebody with -- a
25   homeless person with no transportation, you know, so --
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 1             THE COURT:    What computer do you use to --
 2             MS. MOORE:    I use my friend's parents' computer.
 3   That's why actually my opposition was filed like a week late,
 4   because it's a desktop computer and they went out of town and I
 5   didn't know they were going out of town, and so when I went
 6   over there to use the computer they weren't there, and they
 7   were gone for a whole week, so I couldn't -- I couldn't get on
 8   any sooner than that.
 9             THE COURT:    And how many witnesses does defense
10   intend to call?
11             MR. SARELSON:     Your Honor, we actually don't -- we
12   almost certainly will not call any witnesses.      We will
13   cross-examine the plaintiff's witness --
14             THE COURT:    Mr. Marquez?
15             MR. SARELSON:     -- if he appears.   We weren't planning
16   on calling him or bringing him, so, you know, we weren't going
17   to use him, frankly.
18             THE COURT:    What is his position?
19             MR. SARELSON:     He is the owner -- one of the owners
20   of the company.
21             THE COURT:    He will be at trial, won't he?       He's a
22   party?
23             MR. SARELSON:     We were not planning -- we were not
24   planning on bringing him.    He has no firsthand knowledge of
25   anything, so we were not planning on bringing him to the trial.
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 1   He wasn't deposed or anything.    He doesn't know anything, so we
 2   weren't going to bring him.
 3             MS. MOORE:   His discovery responses said that he --
 4   you know, that Allison conveyed to me that I was terminated,
 5   you know, obviously through him, because he's her supervisor,
 6   so, I mean, he does know something about the case, because he
 7   told her to fire me, so, you know --
 8             THE COURT:   So he's going to be tried in absentia,
 9   because he is a defendant; is that what you're suggesting?
10             MR. SARELSON:   Well, Your Honor, I -- we don't
11   believe there's any claims against him, so we simply were not
12   going to affirmatively use his testimony.
13             MS. MOORE:   Yeah.   I would like to.
14             THE COURT:   That's not my question.
15             MS. MOORE:   I would like to.
16             THE COURT:   Ms. Moore --
17             MS. MOORE:   Yes.
18             THE COURT:   -- you're not being -- the Court is not
19   asking you anything right now.
20             MS. MOORE:   Okay.   I'm sorry.
21             THE COURT:   Mr. Marquez is a defendant.   I think the
22   defense sought to dismiss him and the Court denied the motion,
23   so he is a defendant, he's a principal, and so he needs to be
24   at trial, unless he is willing to have the jury know he has
25   decided to absent himself from trial of his own volition, and,
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 1   of course, the plaintiff is entitled to issue him a summons to
 2   have him come to trial to testify.
 3             Where does he live?
 4             MR. SARELSON:    He lives in Broward County, Florida.
 5             THE COURT:     And that's outside of the 100-mile radius
 6   of the courthouse, I assume.
 7             MR. SARELSON:    It is, Your Honor.     It's probably
 8   200 miles or so, 220 miles.
 9             THE COURT:     So he agrees to be tried in absentia?
10             MR. SARELSON:    He will, Your Honor.    At this point
11   we're not planning on bringing him.
12             THE COURT:     You said he may or he will?
13             MR. SARELSON:    At this point we have not definitively
14   determined whether we're going to bring him or not.       We are
15   leaning towards not bringing him.     I'm going to call my client
16   later today to discuss, but given the nature of the claims and
17   the witnesses and evidence that we're aware of, we don't
18   believe there's any actual reason to bring him to the trial.
19             THE COURT:     Well, if he doesn't come to the trial,
20   the jury will be made aware of the fact that he has chosen not
21   to be at trial.   Do you understand that?
22             MR. SARELSON:    Yes.   That's fine.    We have no problem
23   with that, Your Honor.
24             THE COURT:     Ms. Moore, if the defendant Marquez does
25   not appear at trial, as he can choose to do, do you intend to
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 1   call anyone else other than Mr. Celler?
 2              MS. MOORE:   No, ma'am.
 3              THE COURT:   And where does Mr. Celler live?
 4              MS. MOORE:   He's in Davie, Florida, which is I think
 5   down there near the defendant, but, I mean, I was going to see
 6   about a remote deposition.
 7              THE COURT:   What do you mean, a remote deposition?
 8              MS. MOORE:   Um, well, to my understanding, the
 9   courtroom has some kind of, you know, setup where you can have
10   a videoconferencing or whatever, and I, you know, thought that
11   we could just -- you know, even with Marquez, just do the
12   videoconferencing, because I know it's a far drive and stuff
13   like that, you know, the videoconferencing would be much easier
14   and -- for everybody, you know.
15              THE COURT:   The Court does not permit witnesses to
16   appear by videoconference except in extraordinary
17   circumstances.
18              MS. MOORE:   I understand, um, but, um, see, the
19   problem is that the -- the responsive discovery that
20   I received, there's no answers on it.     I mean, I didn't get a
21   single document that I asked for, not one, nothing, you know,
22   nothing.   I have no evidence whatsoever except what I had when
23   I filed the case three years ago, and then, you know, because
24   um -- and the questions that I asked in the interrogatories,
25   their response was -- I mean, the defendants, I guess, took it
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 1   upon themselves to decide that it wasn't relevant and it wasn't
 2   going to lead to admissible evidence, and so they just didn't
 3   answer them, you know what I mean?     So I have no answers,
 4   I have no evidence, I have no nothing, so I would have at least
 5   liked to have been able to ask him some questions to get the
 6   information then, you know.
 7              THE COURT:   Did you move to compel answers?
 8              MS. MOORE:   No, I did not, because actually the --
 9   the discovery window was only eight weeks, and Christmas and
10   New Year's and a mediation conference right in the middle of
11   it, and by the time -- by the time, you know, I -- because
12   I had to get the subpoena, I had to send it in to the clerk and
13   then wait for them to sign it and send it back to me in the
14   mail, so that process took over a week, and then by the time he
15   said that he wasn't -- he refused to attend the deposition, the
16   window closed for discovery and it was too late, so --
17              THE COURT:   Mr. Sarelson, what was the discovery
18   period?   I don't have the CMSO in front of me.
19              MR. SARELSON:    I'm looking.   I do remember it was
20   fairly short, Your Honor.     I think it went February to -- let
21   me find it on my calendar as quickly as I can.     It was very
22   short.
23              MS. MOORE:   I think it was the beginning of January
24   to February, or middle of February, I think, around the 15th.
25   I mean, I -- you know, if I could have, you know, maybe done
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 1   something, you know -- you know, because I e-mailed back and
 2   forth with Mr. Celler trying to -- you know, because he just,
 3   you know, responded -- because I e-mailed him the subpoena and
 4   I was going to send the hard copy and the check in the mail,
 5   but he responded right away and said that he objected and he
 6   wasn't going to attend a deposition, and I asked him if he
 7   would mind elaborating on why he's objecting, you know, and he
 8   said he didn't have to tell me, you know, I could figure it out
 9   myself and, you know, I had to follow the rules like everybody
10   else if I choose to go pro se, so he was very -- he was very
11   hostile and very like defensive, obviously disturbed by my
12   asking him to come and give testimony, which, I mean, he
13   represented me, so I don't know why he would be so adverse to
14   giving his testimony, because he knows just as well as I do
15   that I -- you know, the circumstances.   He knows that I'm owed
16   wages and everything, so -- but he's being difficult about it,
17   and unfortunately when you're pro se nobody wants to listen to
18   you or help you or do anything for you, and I'm not asking for
19   any special treatment, but I would at least like the same
20   treatment that everybody else gets.   You know what I mean?
21             THE COURT:   So if Mr. Celler is outside the Court's
22   subpoena power and Mr. Marquez is outside the Court's subpoena
23   power and he does not intend to appear to defend himself in
24   person, what is the plaintiff going to offer in the way of the
25   evidence at this trial?
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 1                MS. MOORE:    Well, I'm -- all I have is the evidence
 2   that I had when I filed the case, most of which was included
 3   with the Complaint.       I mean, I -- you know, I -- it's kind of
 4   unrealistic to expect somebody to have all the evidence to
 5   prove their case before they even file it, you know what I'm
 6   saying?     It's not -- I thought that discovery would be like an
 7   exchange.    I spent like a week just getting my discovery stuff
 8   together for them, you know, having to get my records from four
 9   different hospitals and medical, you know, things from doctors.
10   I mean, you know, I sent them probably a couple hundred pages
11   of stuff that he asked for, you know, so I spent a week just
12   getting the stuff together to send him, but I didn't get the
13   same back, and I didn't -- you know, I -- as far as I know, my
14   understanding is it's not for the defendant to decide whether
15   what I asked for is relevant or not, you know, it's not
16   relevant to their position, it's relevant to me, you know, and
17   my position is that I needed it to get, you know, discovery,
18   you know.
19                THE COURT:    Well --
20                MS. MOORE:    I mean, if the Court -- you know, if the
21   Court could, you know, maybe issue a subpoena for Mr. Celler to
22   answer, you know, some questions and like interrogatories or
23   some sort of -- you know, like in writing, give a written
24   deposition or something instead of, you know, virtual or
25   in person, I mean, we could do it that way too.       I just --
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 1   I can't prove my case when I don't have any evidence, I don't
 2   have any answers, I don't have any witnesses, I don't have
 3   anything, you know what I mean?   What am I supposed to do but
 4   nothing, you know.
 5             THE COURT:   Well, the problem, among many, is that
 6   you did not move to compel any additional discovery between the
 7   time discovery responses were given to you, or even after,
 8   except that you did move to compel a subpoena to Indeed for
 9   electronically-stored information concerning the job listing,
10   and that subpoena was defective, and you didn't move, that
11   I can see, to compel any other discovery in the case after you
12   received responses.
13             MS. MOORE:   Right.   There wasn't enough time.
14   I mean, it was just a few days before the discovery window
15   closed, so, I mean, I wouldn't have had time to draft something
16   and --
17             THE COURT:   Well, you drafted a motion to compel the
18   Indeed discovery.
19             MS. MOORE:   Yeah, because I sent that one first.
20             THE COURT:   And you drafted a motion for extension of
21   time.
22             MS. MOORE:   Yeah, I sent that.
23             THE COURT:   The first I'm hearing about this is at
24   the pretrial conference a week or so before trial.
25             MS. MOORE:   Um, I am -- actually, I requested --
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 1   I sent the subpoena to Indeed and then I sent another subpoena
 2   to the Clerk's Office to be signed, and then -- and I never got
 3   it and I never got it, I waited about a week or so, and then
 4   I got a ride to Tampa and I had to get another one to send,
 5   because I didn't know what happened to the one I sent.        I guess
 6   it got lost in transit.
 7             THE COURT:    What was the form?
 8             MS. MOORE:    For a deposition for Mr. Celler.      I mean,
 9   it took a week and a half before I had it in my hand, before I
10   could send it to him.
11             THE COURT:    And then did you send it to him?
12             MS. MOORE:    Yes, I did.   I sent it to him
13   electronically.
14             THE COURT:    And then what did he do?
15             MS. MOORE:    He just said that he objected and that he
16   wouldn't be attending, and then, you know, when I said, well,
17   can you elaborate on what the basis is for your objection, he
18   said no, he said he didn't have to tell me, you know, and --
19             THE COURT:    Did you move to compel him to appear at
20   his deposition?
21             MS. MOORE:    I didn't because the deadline had -- the
22   deadline came and went.   It was too late then.
23             THE COURT:    Did you move to extend the deadline?
24             MS. MOORE:    No, I didn't, but, I mean, the scheduling
25   order said that, you know, the schedule was firm, so, you know,
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 1   I didn't feel like I -- it would be appropriate for me trying
 2   to change the scheduling around, you know.
 3             THE COURT:   I'm not really sure what to tell you,
 4   Ms. Celler.   If you don't have any witnesses to call, what
 5   do you intend to do on the first day of -- on the first day of
 6   trial?
 7             MS. MOORE:   I'm sorry.     Are you talking to me?
 8             THE COURT:   Yes.     I'm sorry.   Ms. Moore.
 9             MS. MOORE:   Sorry.     That's okay.
10             I guess I will just have to explain the circumstances
11   of the case and present the evidence that I had, I guess,
12   three years ago when I filed, and --
13             THE COURT:   Well, what evidence is that?
14             MS. MOORE:   Um, well, I have the job posting, I have
15   the two voicemail messages from two different people, Petland
16   employees, that they received my resumé for the vet tech
17   position at Pooches of Largo, I have the screenshot of the text
18   message where the manager texted me and offered me the job, and
19   showing that, you know, I asked about the compensation and he
20   didn't -- he didn't say it was any other than what they said
21   there in the job post, and then I have -- I have -- I have some
22   communications with Mr. Celler -- I mean --
23             THE COURT:   Well, do you intend to testify yourself?
24             MS. MOORE:   I mean, I don't mind being questioned,
25   you know, if -- if the defense wants to, um, you know, put me
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 1   on the stand and question me and -- that's fine, you know, I'm
 2   fine with that.
 3             THE COURT:   That's not how it works on the
 4   plaintiff's side of the case, Ms. Moore.    If you want to call
 5   yourself as a witness, you have to call yourself as a witness
 6   and sit on the witness stand and, as odd as it sounds, ask
 7   yourself questions and answer those questions, unless the
 8   defense agrees you can just tell your story, and then you ask
 9   yourself questions, you answer those questions subject to
10   objections, the Court rules on the objections, and you can
11   either answer or not answer, and then that becomes your
12   testimony, and whatever evidence you're competent to introduce
13   over whatever objection the defense may have is the evidence
14   that comes into evidence in your case, and it appears that the
15   only person who you could call to do that would be yourself,
16   absent some subpoena power to bring some other competent,
17   knowledgeable witness who has been previously disclosed here to
18   court to testify.
19             MS. MOORE:   I understand.   I mean, I -- that's
20   all right, I will do that then, if I have to put myself
21   between, you know, representative and witness, then I guess,
22   you know, I can do that.
23             THE COURT:   And then how many witnesses does the
24   defense intend to call?    You said no witnesses?
25             MR. SARELSON:    We don't intend to call any witness.
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 1   We just intend to cross-examine the plaintiff's witnesses.
 2             THE COURT:    And the plaintiff's witness in this case
 3   it appears being the plaintiff only.
 4             MR. SARELSON:    That's correct, Your Honor.
 5             THE COURT:    I assume then the parties agree we would
 6   only need six to seven jurors; is that right?
 7             MR. SARELSON:    That's fine with defense, Your Honor.
 8             MS. MOORE:    I'm fine with that.
 9             THE COURT:    There are typically six jurors in a civil
10   case, Ms. Moore.
11             MS. MOORE:    Yes, I'm fine with that.
12             THE COURT:    Have the parties attempted to exchange
13   exhibit lists?
14             MS. MOORE:    Um, I believe that I sent --
15   Mr. Sarelson, did I send you the exhibits list, the discovery
16   stuff, or no?    I can't remember.
17             MR. SARELSON:    No, you did not exchange exhibit
18   lists, but you told me you were doing it this week before the
19   Friday deadline.
20             MS. MOORE:    Yeah, I'm actually --
21             THE COURT:    Your microphone is some sort of muffled.
22   Can you either take it off speaker or put it on speaker?      I can
23   barely hear you.
24             MR. SARELSON:    Oh, I'm sorry, Your Honor.    I think
25   I -- I mentioned to your JA, I actually have COVID, so my voice
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 1   is kind of bad right now.     I'm sorry.    I'll speak up a little.
 2                THE COURT:   All right.
 3                So no exhibit lists have been exchanged.    When do you
 4   intend to do that?
 5                MS. MOORE:   Um, I'm actually working on the pretrial
 6   statement, I'm about halfway through it, I'll probably have it
 7   done by tomorrow night at the latest, and then that will be
 8   included and I'll send everything together over to
 9   Mr. Sarelson.
10                THE COURT:   Well, it has to be a joint pretrial
11   statement, so you'll need to send it to the defense, and then
12   you all have to coordinate getting one single pretrial
13   statement submitted to the Court.
14                MS. MOORE:   All right.   Yeah, I mean that's how we've
15   been doing it, you know, one of us will start it and then send
16   it to the other to make their edits and then we communicate
17   after that to figure out, you know, whatever needs to be
18   addressed.     I just figured it, you know, would be better if
19   I started -- if I did the bulk of the pretrial statement,
20   because Mr. Sarelson indicated that he didn't have -- he's not
21   submitting any exhibits or anything like that, so -- you know,
22   and I have several, so I figured it just made sense for me to
23   start the report and then send it over to him to put in his,
24   you know, input.
25                THE COURT:   All right.   Well, I will --
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 1             MS. MOORE:   I'm sorry.
 2             THE COURT:   When do the parties believe they will
 3   have the final pretrial documents prepared?
 4             MS. MOORE:   I should be able to get it over to
 5   Mr. Sarelson by tomorrow night at the latest.
 6             MR. SARELSON:      I'm sure we can file it by Friday,
 7   Your Honor.
 8             THE COURT:   All right.     Well, I will hope to get it
 9   by Friday, I'll set the deadline as next Monday, just to be on
10   the safe side, and the trial is going to be set for August 7th
11   to give defense counsel a chance to finish his quarantine and
12   hopefully be showing a negative test and be asymptomatic.
13             MS. MOORE:   Um, I understand.
14             MR. SARELSON:      Of course.
15             MS. MOORE:   It's cutting it close.     If that's cutting
16   it too close also, you know, I'm fine with the next week also.
17             THE COURT:   I have another trial the next week, so --
18             MS. MOORE:   Oh.
19             THE COURT:   -- August 7th is the trial date.
20             MS. MOORE:   Okay.
21             THE COURT:   No motions in limine were filed and the
22   deadline has run, so I'll just look to see what you all offer
23   up in the way of evidence on Monday the 7th.      Based on what I'm
24   hearing, this is going to be a very short trial.
25             Now, there is the ability -- I'm not making a
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 1   recommendation one way or the another.       There is the ability
 2   for the parties to stipulate to a bench trial instead of a jury
 3   trial, and that way the Court would decide both the factual
 4   issues and the legal issues in the case.       Is there any interest
 5   by the parties in the Court setting this as a bench trial
 6   instead of a jury trial?     From the plaintiff.
 7                MS. MOORE:   Um, I would be opposed to that, for the
 8   jury trial.
 9                THE COURT:   All right.   Both parties have to agree in
10   order for the Court to do that, and so the matter will be set
11   for a jury trial.
12                Do you know anything about selecting a jury,
13   Ms. Moore?
14                MS. MOORE:   Um, no, I don't.   I mean, I've been
15   researching what the -- what the procedure is.       I have never
16   done it myself, obviously, but, I mean, I -- I've prepared,
17   you know, the questions, you know, for the jury and I'm
18   learning how the procedure works, so I have some -- I have a
19   basic idea of how it works.
20                THE COURT:   Well, the questions the jury will be
21   asked are relatively limited.      I don't know what you're using
22   to prepare, but if you're following any kind of State Court
23   template, that's not the right one.       You should follow --
24   I will have my courtroom deputy docket the Court's standard
25   jury inquiry or voir dire on the docket so each of you will
                                                                 22




 1   have access to it, and the Court usually only adds a few more
 2   questions to those questions based upon the specifics of the
 3   case, for example, you know, have you ever purchased a pet from
 4   Pooches of Florida, or, you know, some other sort of pet name,
 5   have you ever worked there, have you ever --
 6               MS. MOORE:   (Inaudible.)
 7               THE COURT:   I'm sorry.     I'm talking, Ms. Moore.
 8               MS. MOORE:   I'm sorry.     You cut out.   I'm sorry.
 9   You cut out.
10               THE COURT:   Can you hear me?
11               MS. MOORE:   Yes, I can hear you now.      Sorry about
12   that.
13               THE COURT:   Have you ever been an HR Director of a
14   business?   What was your role in that?       Those type of very
15   specific limited questions to the issues presented here.            And
16   the Court asks all those questions once the parties agree on a
17   set of questions.    If somebody wants a question asked and the
18   other party doesn't, you'll need to submit it and I'll need to
19   review it to see whether it's going to be asked, and then after
20   the Court asks all the questions that have been approved, then
21   the parties may have a follow-up question or two for individual
22   jurors, and that will be decided, and then that will be the end
23   of voir dire and then the parties will select their -- well,
24   they'll make their objections on a cause basis and then they'll
25   exercise their preemptory objections, which is three per side,
                                                              23




 1   and then the Court will at that point have the leftover venire
 2   and that first six or seven people will be the jury.
 3              MS. MOORE:    I understand that.
 4              THE COURT:    Any questions about that procedure?
 5              MS. MOORE:    Actually, is that something that would
 6   take place just like right before the trial starts, or is that
 7   something that happens in advance of the trial?
 8              THE COURT:    That's going to happen Monday morning,
 9   the 7th.
10              MS. MOORE:    Okay.
11              THE COURT:    Probably will take about an hour and a
12   half, maybe two hours.     And then as soon as it's done I'll
13   swear the jury and the trial will begin.
14              MS. MOORE:    Okay.   Do you know what time I would need
15   to be there on the 7th yet, or no?
16              THE COURT:    I would suggest that you get here no
17   later than 8:30 and we'll bring up the jury at 9:00.
18              MS. MOORE:    Okay.
19              THE COURT:    Any questions about jury selection from
20   the plaintiff, Ms. Moore?
21              MS. MOORE:    No, ma'am.
22              THE COURT:    From the defense?
23              MR. SARELSON:    No, Your Honor.
24              THE COURT:    Are there any issues the Court needs to
25   be aware of in advance of this trial that I would have no way
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 1   to know about?
 2             MR. SARELSON:     Not from the defendants.
 3             MS. MOORE:   Not from me either, that I think of.
 4             THE COURT:   And, Ms. Moore, the Court will issue a
 5   telephone order for you to bring your telephone -- and I'm
 6   assuming you don't have a laptop -- to court with you.       Do you
 7   need any other permission?
 8             MS. MOORE:   Um, I was going to -- actually, I was
 9   going to see if I could borrow my friend's laptop for the trial
10   and then transfer my documents over to there.
11             THE COURT:   Well, the Court will typically allow the
12   parties to bring a computer and a telephone and allow the
13   lawyers, because they have special permission, to bring their
14   electronic devices in the building.     So I will do an order for
15   you for those pieces of equipment, one phone and one laptop.
16             MS. MOORE:   Thank you.
17             THE COURT:   The parties will need to not only file
18   their proposed jury instructions and verdict form, but also
19   e-mail those to chambers so that the Court can have a Word
20   version document that it can modify for the final.
21             MS. MOORE:   Okay.   That would -- jury questions, and
22   what was the other thing?
23             THE COURT:   The jury instructions and the verdict
24   form.
25             MS. MOORE:   Okay.   All right.
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 1               THE COURT:   I assume there is no chance that this
 2   case could settle at this point?
 3               MS. MOORE:   I mean, no, not that I can see.    We're
 4   pretty far off on that.     I don't see us coming to an agreement.
 5               THE COURT:   Well, keep in mind, Ms. Moore, that you
 6   don't have any evidence, that's what you've been telling me all
 7   morning, you don't have any witnesses and you don't have any
 8   evidence, and even if you think you have a right, if you don't
 9   have any witnesses and you don't have any evidence then you may
10   very well lose the case, and if there has been some proposal
11   for resolution, if that is the case, that you don't have any
12   evidence and witnesses, you should certainly consider any such
13   proposal.
14               MS. MOORE:   I understand.   I didn't say that I don't
15   have any evidence, I just said that I wasn't -- I wasn't given
16   any of the evidence that I asked for in discovery.      All I have
17   is the evidence that I had initially.
18               THE COURT:   All right.
19               MR. SARELSON:   And from the defendant's perspective,
20   you know, I say this with such utter sincerity, I wish nothing
21   more than that this case would settle.      As the Court knows,
22   Count One is an FLSA claim for minimum wage.      Those cases are,
23   even if Ms. Moore prevails, worth hundreds, literally hundreds
24   of dollars, not even thousands of dollars, so -- and the fraud
25   case, which we find to be problematic at best.
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 1              So I'd like nothing more than to settle the case,
 2   and it would be very weird if we had a trial on that after
 3   three years and plaintiff gets a verdict potentially of,
 4   you know, $250 or something.       We would -- we would gladly
 5   resolve this case.
 6              MS. MOORE:    I know.     I've been trying to get paid for
 7   five years.    That's what I'm saying.      Nobody should have to
 8   spend five years of their life for free just trying to get paid
 9   for their work.    You know what I mean?      And I'm not accepting
10   less than what I'm owed to drop everything.        You know what
11   I mean?   I don't see any reason to do that.
12              MR. SARELSON:    But, Your Honor, we will gladly pay --
13   I don't even have to talk to my client, I will gladly pay
14   whatever the difference is between what she thought she was
15   supposed to be paid and what she was paid.        It comes out to
16   about $1500.   And that claim was actually dismissed, so the
17   only economic damages left is minimum wage, which is a couple
18   hundred dollars.     But I will gladly pay her -- I have no
19   problem saying this to the Court, I will gladly pay her the
20   difference, which is about $1500, no questions asked, I'll pay
21   it right now, to make this go away.
22              MS. MOORE:    But the damages for failure to pay
23   minimum wage for willfulness, obviously it's willfulness
24   because I've been trying to get paid for five years now, is
25   liquidated damages as well.        I spent -- I mean, there's no
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 1   compensation for having to spend five years, I mean, just
 2   trying to get paid while the defendant has known all along he
 3   owes me the money and just refused to give it to me.     You know,
 4   he's the one that dragged this out.    You know what I mean?
 5               The Court -- when I filed the case, you know, the
 6   Court ordered the parties to participate in case management and
 7   to file corporate disclosure statements, and Mr. Sarelson
 8   wouldn't -- you wouldn't meet with me, you said not until the
 9   Judge ruled on the motion to dismiss, which took eight months,
10   and so, you know, for the first year after I filed this nothing
11   happened, nothing happened.    You wouldn't cooperate.   Discovery
12   was not allowed to continue until after case management, which
13   we didn't have because you weren't cooperating, even though
14   there was no stay in place, you know, you weren't cooperating,
15   so that the case, you know, just sat there and didn't go
16   forward.   And then when the -- when the Judge ordered you to
17   produce my time clock and payroll records, I waited over a year
18   for those, and I still don't have them.    You know, I waited
19   over a year and you didn't do anything or say anything, and the
20   Judge didn't hinder me whatsoever during those 14 months or
21   whatever it was that I waited, and I didn't file anything
22   because, you know, you were ordered to produce those documents,
23   so I didn't think that I needed to file a motion asking the
24   Court to tell you to comply with the order.    You know what
25   I mean?    I thought that not complying with court orders was not
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 1   an option.     So I just waited, you know, and I waited, for
 2   almost a year and a half, and, you know, here it is another
 3   year and a half after that and I don't even have it.      You know
 4   what I mean?
 5                MR. SARELSON:   Your Honor, if we may, because
 6   I really would like to not waste the Court's time with this
 7   issue, okay, we have a motion to dismiss partially granted,
 8   partially denied, the Court indicated I believe in a footnote,
 9   which is Footnote 1, that the Plaintiff's damages, even if
10   she's right, are around -- I think the Court said it was $1800.
11   We think that calculation was based off of the net of the
12   gross, we thought it was more like $1400, but the Court
13   two years ago indicated this is a dispute over 15 to $1800, the
14   minimum wage claim is simple math, she claims she worked
15   full-time for three weeks but she was paid less than full-time,
16   you take the number of hours that she was not compensated for,
17   which is probably about 50 or 60 hours, maybe 70 hours,
18   multiply that by minimum wage, which is 8.50 an hour, multiple
19   that by two, that is still about $500.      So I don't -- we are
20   litigating two cases, from our perspective, we're litigating a
21   dispute over a pay discrepancy, there may be a pay discrepancy,
22   and we will gladly make up the difference of that pay
23   discrepancy.     We've said that for four years now.
24                MS. MOORE:   I understand.
25                MR. SARELSON:   There's nothing about -- hold on.     Let
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 1   me finish.
 2                And so we're -- the plaintiff has overwhelmingly said
 3   to the Court there's a pay discrepancy.      We'll pay the pay
 4   discrepancy.     It was like $1500.   The minimum wage claim is
 5   actually less than the pay discrepancy, because there is no pay
 6   discrepancy claim, it's just a minimum wage claim, which is
 7   worth less than $500, even if it's liquidated damages.         We'll
 8   pay all of this.     I have no problem paying all of this.      We'll
 9   pay it right now.     I have full authority from my client, I can
10   pay the payment right now.
11                MS. MOORE:   Wait a minute.   What's the reason for why
12   I'm not entitled to liquidated damages?
13                THE COURT:   That is liquidated damages, Ms. Moore,
14   it's double the minimum wage you weren't paid, that's what
15   liquidated damages are, you get your unpaid minimum wage and
16   you get it times two, because it wasn't paid, and that number
17   is a very low number against the number of weeks that you claim
18   you weren't fully compensated, so I'm not sure if you
19   understand what liquidated damages are.
20                MS. MOORE:   I do.
21                THE COURT:   Because it's twice the amount that you
22   claim you're entitled to.
23                MS. MOORE:   I understand.
24                THE COURT:   What do you think your liquidated damages
25   are?
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 1             MS. MOORE:   It would be -- it would be double --
 2   double the 1800.
 3             THE COURT:   What is double the 1800?
 4             MS. MOORE:   Well, because when you do the math, it's
 5   1800 that I'm owed, and you double that, so, you know, it's
 6   equal amount, 1800 plus 1800.
 7             THE COURT:   But that double the 1800 number is based
 8   upon the pay discrepancy broadly defined from the job that you
 9   had thought you had and the job that you actually had, and that
10   claim you have now dropped.
11             MS. MOORE:   But that's where the fraud comes in.
12   That's where the fraud count comes in, because, I mean, I was
13   hired for the job that I applied for, you know, I applied for
14   the -- I interviewed for the job that I applied for, which
15   I have documentation of, and then I was hired for the job that
16   I interviewed for, and I worked in that capacity during that
17   time, and then all of a sudden when it come time to pay me, all
18   of a sudden, you know, I'm just a kennel tech, a part-time
19   kennel tech, even though I worked full-time every week, all of
20   a sudden I'm a part-time kennel tech for 8.45 an hour.
21             THE COURT:   Ms. Moore, if they pay you for the job
22   that you believe that you were supposed to get, how much money
23   do you think that would be for the weeks that you worked the
24   job before you were terminated?
25             MS. MOORE:   I'm sorry.   What was the question again?
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 1   How many weeks, or how many -- what would the amount be?
 2             THE COURT:     What do you believe that -- how much do
 3   you believe they didn't compensate you for this job that you
 4   believe you were hired to do?     What do you think you lost, and
 5   what is the basis for that?
 6             MS. MOORE:     Well, my tech would have been $2,019
 7   before taxes, because at $35,000 a year that works out --
 8   you know, divided by 52, that works out to -- I think it's 678
 9   or 679 a week, times three weeks, comes out to 2,019 before
10   tax, and I got $200, so, you know, that's $1800 there.
11             MR. SARELSON:     Your Honor, we'll pay $1800 right now.
12   Your Honor, if Ms. Moore is saying she's owed $1800, I won't
13   even go back to my client, we'll settle for $1800 right now.
14   Done.
15             MS. MOORE:     I mean, the thing is that you cannot
16   tell -- you cannot hire somebody and tell them you're going to
17   pay them this much and then wait until after they put in the
18   work and then retroactively reduce their pay after they've
19   already done the work.    I mean, you can't do that, otherwise
20   everybody would say I'll pay you $50,000 a year and when it
21   comes payday, say, oh, didn't I tell you, I changed it down to
22   minimum wage, you're down to 200 bucks, you know, after they've
23   already worked at the higher rate, you know.
24             THE COURT:     Ms. Moore.
25             MS. MOORE:     Why did it say 35,000 if that's not what
                                                           32




 1   they were going to pay, you know.
 2             THE COURT:   Ms. Moore.
 3             MS. MOORE:   That's fraud, you know.
 4             THE COURT:   Ms. Moore.
 5             MS. MOORE:   Yes.
 6             THE COURT:   If it is your claim that they defrauded
 7   you and they should have paid you what they agreed to pay you,
 8   if your damages are $1800 for that failure, they're saying
 9   they'll pay you the $1800, and so what is your claim for more
10   than the $1800 that they're willing to pay you?
11             MS. MOORE:   Well, it would be whatever the damages
12   are for the fraud, because obviously it was fraudulent,
13   you know, because from the time that -- that my attorney sent
14   the demand letter Mr. Sarelson responded with lies, you know
15   what I mean, and he's been lying for five years.   He didn't
16   tell the truth until the motion for summary judgment, you know,
17   five years of lies, five years of saying I was a part-time
18   kennel tech, that I never worked more than 20 hours a week, and
19   that my pay was 8.45, when we obviously know that they knew all
20   along that that was not the truth, because they posted
21   screenshots in with their -- with their summary judgment
22   motion, screenshots showing that they know very well that
23   I applied for that job and what the job post said, you know.
24             THE COURT:   What do you believe the fraud damages
25   are?   How much do you believe you're entitled to for fraud
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 1   damages for that failure to be truthful to you when they paid
 2   you the $200?     How much do you think you're entitled to for the
 3   fraud damages above the $1800?
 4               MS. MOORE:     Well, I mean, you know, okay, the fraud,
 5   you know, but, I mean, you know, I -- you know, I was evicted
 6   three weeks -- that money they stole from me, that $2,000, that
 7   was my rent, you know?      I got evicted three weeks later because
 8   I was supposed to pay my rent the next day, on the 1st.
 9   I couldn't pay it.       The police came and made me leave my house.
10   I had nowhere to go.      I've been homeless since then.   I lost
11   every single thing I had besides the clothes on my back and my
12   dog, because I couldn't pay my rent when they stole my rent
13   money.
14               THE COURT:     How much do you think they owe you for
15   that?     That's a number, Ms. Moore.
16               MS. MOORE:     You know, I couldn't even tell you right
17   off the top of my head.      I mean, it's not really something I've
18   thought about because I was just going to leave it to the jury,
19   you know.    I trust the jury that they'll come up with a fair,
20   you know, amount.
21               THE COURT:     Well, the jury is not going to be able to
22   compensate you for everything bad that happened to you in your
23   life after you didn't get the $2,000, because in addition to
24   that the defendant has a failure to mitigate defense, and
25   that --
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 1               MS. MOORE:   I --
 2               THE COURT:   -- means you had an obligation to get
 3   another job.
 4               MS. MOORE:   Yes.   I have tried.   I filed several --
 5   I filed about a dozen communications with other, you know,
 6   employers rejecting me, not hiring me, you know.      So I did --
 7   I did make the -- I've been trying to get a job all along.
 8   I mean, I could show you a dozen more or two dozen more
 9   attempts that I've made over these five years.
10               THE COURT:   The problem is in order to introduce that
11   evidence of what those people did and why they did it, you
12   would need a witness.     You can't just come into court with
13   papers from some company somewhere saying we didn't hire this
14   person, because you don't have any way to admit those records,
15   you don't have any way to authenticate them, and so those
16   letters of your efforts to mitigate will not be admissible
17   because you don't have a witness through whom to admit them.
18               MS. MOORE:   Well, I mean, you know, that's not --
19   there's not a big market for homeless vet techs with no
20   transportation.     You know what I mean?   I mean, I don't have
21   clothes, I don't have scrubs, I don't have anything, nothing,
22   you know.   I don't have my birth certificate or a Social
23   Security card, even if I did get offered a job, I mean, I don't
24   have any of that.
25               THE COURT:   So you're not going to settle your case
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 1   for $1800; that's what you're saying?
 2             MS. MOORE:   Correct.
 3             THE COURT:   All right.   Well, I will see you all on
 4   August the 7th.   File your materials in a timely fashion and
 5   the Court will do what I need to do with whatever you file, get
 6   back with you if there are any issues that I foresee.     You'll
 7   need to exchange your exhibits, that's very important.
 8             Ms. Moore, if there's any paper you intend to try to
 9   introduce at trial, you need to list it on the exhibit list and
10   then the parties need to, if they don't know what each other is
11   talking about, actually see the papers through some means, I'm
12   not sure how, and then you will come back to the Court at
13   trial, and if there are objections, they need to be listed on
14   the exhibit list in the final pretrial material --
15             MS. MOORE:   Right.
16             THE COURT:   -- what the objection is and then the
17   Court will resolve any objections at trial.
18             MS. MOORE:   I understand.    I've already started
19   working on my exhibit list.     It's about halfway through.
20             THE COURT:   All right.   Well, think about as you're
21   working on it, Ms. Moore, how you're going to get those
22   exhibits admitted into evidence, because if they are not the
23   defendant's exhibits and they're not your own communications to
24   the defendant in the course of the case or some other
25   self-authenticating document, then it's going to be difficult
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 1   for you to get them admitted, but we'll see what you have when
 2   you get your list put together.
 3             And I'm assuming the defense would have exhibits, or
 4   do you not intend to introduce exhibits either?
 5             MR. SARELSON:   Your Honor, we suspect every one of
 6   our exhibits will be on the plaintiff's exhibit list and
 7   I don't believe we will independently have exhibits.    There's
 8   very -- there's really -- there's really not a lot in terms of
 9   exhibits in this case, just some paystubs and a job posting and
10   a text message exchange, so I'm sure this will be on
11   Ms. Moore's exhibit list and we will probably use those as
12   well, so --
13             THE COURT:    And, Mr. Sarelson, can you tell the Court
14   why it is that it wasn't until your summary judgment filings
15   that the defense admitted that it had goofed at least in the
16   way it hired Ms. Moore?
17             MR. SARELSON:   The answer is simple, Your Honor.     We
18   actually don't know -- we don't have -- we don't have the
19   onboarding materials, and so we don't -- it's not like -- we
20   actually tried to figure out how this happened and we don't
21   have a good answer.    We think -- this is a speculation, we
22   think she actually did apply for the full-time job but she was
23   onboarded accidentally for the part-time job, and that's
24   about -- I mean, that's speculation on our part, but that was
25   it, she -- and, unfortunately, because of the time -- the time
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 1   gap that the Court knows, she sent the text message on
 2   August 31st, 2018, Allison Nieves says call corporate to get to
 3   the bottom of it, she doesn't call corporate, and then we don't
 4   hear from her.
 5                MS. MOORE:   She fired me.
 6                THE COURT:   Ms. Moore.
 7                MS. MOORE:   She fired me, and then your discovery
 8   said you didn't allow her to investigate my complaint.
 9                THE COURT:   Ms. Moore.
10                MS. MOORE:   Yes.
11                THE COURT:   Mr. Sarelson was talking and you're not
12   going to do that and you're not going to do it in the
13   courtroom.     Do you understand?
14                MS. MOORE:   Yes.   I understand.   Sorry.
15                THE COURT:   Now continue, Mr. Sarelson.
16                MR. SARELSON:   Thank you, Your Honor.
17                THE COURT:   I don't think you answered the question
18   though.   I understand what happened.      My question is why
19   haven't you admitted what happened until the summary judgment
20   motion was filed, because, frankly, reviewing the papers,
21   I thought Ms. Moore -- what's wrong with this lady, why doesn't
22   she know that she wasn't hired for this job, this makes no
23   sense to me, et cetera, and then I got the summary judgment
24   papers and then I see that the defense admits that it hired
25   her, allowed her to interview for a job, and then she worked
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 1   what she thought was that job, and then she was paid for a tech
 2   job, and then -- well, not paid for her tech job, and then when
 3   she complained and raised issues she was fired, and I don't
 4   know why it took this many years and two lawsuits for the
 5   defense to figure out it had made a mistake.
 6            MR. SARELSON:   Well, Your Honor, we -- we only
 7   acknowledge that we think this is a mistake.    The answer is we
 8   don't actually know how the mistake occurred, is the problem,
 9   because we don't have the actual like onboarding material that
10   shows specifically what she applied for and specifically like
11   how much she was offered and what her rate of pay was.      We
12   don't -- I don't know why, but for some reason we don't have a
13   good answer for how it is that this came to happen.    We have
14   stipulated to certain facts now for purposes of summary
15   judgment, but the short answer is we still -- we don't know how
16   this happened, that somehow -- somehow she apparently applied
17   for one job and was paid for a different one.
18            THE COURT:   That's not my question.    My question is
19   why didn't you figure that out before the summary judgment was
20   filed and just admit it and deal with it on that basis instead
21   of making it seem as if Ms. Moore was not -- why didn't you
22   just say when you figured this out, we figured it out, we made
23   a mistake and we're sorry, instead of saying we never did that,
24   that didn't happen, that's not true, that's not right?      Why did
25   it take until the summary judgment motion for you to
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 1   acknowledge it rather than at the beginning of the case?
 2             MR. SARELSON:   Your Honor, because we -- the only way
 3   I can answer that is we don't know for a fact exactly what
 4   happened, so I don't know if the --
 5             THE COURT:   When did you discover what happened?
 6             MR. SARELSON:   We still don't know.       She -- I use the
 7   word "apparently" because she apparently applied for a job but
 8   we don't have -- like there's no -- for example, there's no
 9   formal written like job offer that says we're here to offer you
10   this job at this rate of pay starting tomorrow.        I've never
11   seen one, and my client doesn't know -- you know, we don't know
12   how this happened, that's the short answer.        We don't know --
13             MS. MOORE:   (Inaudible.)    Sorry.     Sorry.
14             THE COURT:   When did you discover what happened,
15   Mr. Sarelson?
16             MR. SARELSON:   I'm not sure we've since discovered
17   what happened.   We think we know what happened, but I don't
18   think we actually do know what happened.        There's no clear
19   answer as to what actually happened.     I have a feeling, I can
20   speculate, I think I know what happened, but I don't have a
21   good -- still to this day don't have a good answer, I don't
22   have any real documentation from the client that shows exactly,
23   you know, how it is that you could apply to one job and somehow
24   get onboarded and get paid your payroll for a different job.
25   I think -- and I -- I honestly don't know, and my client
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 1   doesn't know.   I think they hired her for this job at 35,000 a
 2   year, but when they put her into the payroll system somehow she
 3   got coded as a part-time employee making 8.45 an hour, I think,
 4   I don't know that for a fact, but I think that's what occurred,
 5   that somehow she applied for one -- we just don't know.
 6             MS. MOORE:   If you don't know, then why have you been
 7   so adamant about saying that I was a kennel tech for 8.45 if
 8   you have nothing to base it on?     Why have you been so
 9   insistent, if I interviewed, if I responded to a job post for a
10   veterinary technician by sending my resumé for a veterinary
11   technician through the link and the post and then I was called
12   for an interview and -- which I have the visual voicemail of
13   two different people saying we received your resumé and we'd
14   like to schedule an interview for the veterinary technician
15   position at Pooches of Largo, two different people on two
16   different dates said that, and I have the visual voicemails in
17   the record, and then I went and I had my interview and then
18   two days later I asked got a text asking if I could come in at
19   7:00 in the morning for training.
20             I mean, if I was anything but what I -- what I
21   applied for and what I was hired for, then, I mean, don't you
22   think I would have known, if I was going to take a job that was
23   20 cents over minimum wage compared to -- you know what I mean?
24   35,000 a year is like the typical range of pay in that area for
25   that time for a vet tech, you know, so I had no reason to think
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 1   that I was applying to, you know, scoop poop and clean cages
 2   all day, you know, because you wanted a certified -- you wanted
 3   a certified veterinary technician, not just a vet tech, but
 4   certified, which means you wanted somebody that was
 5   credentialed, that had a college degree in veterinary
 6   technology, you know, you specified that in the job post.
 7             And you're saying that you don't have anything -- you
 8   don't have any of the paperwork, which, I mean, Mr. Celler in
 9   his demand letter asked you to preserve those documents pretty
10   much after I was fired, to preserve them in anticipation of a
11   lawsuit, and I know that there was records because I used a
12   time clock every day to clock in and out, so apparently the
13   records were destroyed or he just doesn't want to produce them
14   or something.
15             I mean, you said in discovery -- Mr. Marquez said
16   that no investigation into my complaint was made because it was
17   unnecessary.    Why was it unnecessary, you know?   Don't you
18   think that you should look into it when I'm saying I got
19   shorted -- I mean, he should have looked into it, because it
20   was a legitimate complaint, but instead he just fired me,
21   you know, for nothing, for no reason, you know, just because he
22   didn't want to pay me, you know, and it's not -- you know, this
23   is not an isolated incident, because I see plenty of reviews
24   from other employees of Petland, of specifically Mr. Marquez,
25   complaining about the same thing, not getting paid, getting
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 1   paid late, getting shorted pay, you know, this is like a
 2   pattern and a practice with him, this is not just an isolated
 3   incident, you know, it happens regularly.           I didn't know that
 4   at the time, but I did find out, you know.
 5                I mean, I could have -- you know, if he said it was
 6   unnecessary to look into my complaint, well, then, I guess,
 7   you know, so why should -- why should I -- I don't know what
 8   your basis is for saying that I was something that I wasn't
 9   when you don't have any records and you didn't even bother to
10   investigate, you know.        I mean --
11                THE COURT:     Well, you'll have to introduce --
12                MS. MOORE:     -- he just said that in discovery.
13                THE COURT:     You'll have to rely on the evidence that
14   you can rely on at trial.           Mr. Marquez's affidavit, of course,
15   is admissible in trial.        And we'll just -- we'll just have to
16   see how it shakes out.        If the parties aren't able to resolve
17   the case, I can't make anybody settle a case, we'll just have
18   to take it up on the day of trial.
19                MS. MOORE:     Okay.    Yes, Your Honor.
20                THE COURT:     And I will look to see, Mr. Sarelson,
21   whether I can compel Mr. Marquez to appear at trial as a
22   defendant.     If I can, I will.        If I cannot then he will just be
23   tried in absentia.        Do you understand that?
24                MS. MOORE:     Yes.
25                MR. SARELSON:     I -- I --
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 1             MS. MOORE:   What would happen as far as like if
 2   I wanted to, you know, ask, you know, questions, you know, of
 3   him?   How would I -- I just -- I'm just not going to be given
 4   that opportunity, or -- I mean, how --
 5             THE COURT:   If he can't be compelled to be here then
 6   you won't be able to call him, you'll just have to rely on his
 7   affidavit that he submitted in support of summary judgment, you
 8   won't be able to call him as a witness.
 9             MS. MOORE:   But his affidavit said that he has no
10   personal knowledge of the facts, you know, which is not true,
11   you know, it is all lies.     He knows very well.   He's -- he's
12   met me and he's communicated with me directly through the group
13   chats, you know.   I'm sure I could refresh his memory, he'd
14   remember the conversation that we had.     He said -- you know, he
15   started out the affidavit with I'm writing this affidavit based
16   on personal knowledge and company records, which I don't know
17   what those records are, and then he ended it, the last
18   paragraph, I have no knowledge of the plaintiff or anything
19   about this case, I've never met her, I don't know anything
20   about it, I don't know about her pay, I don't know anything,
21   I didn't fire her, nothing.     So, I mean, in a page and a half
22   he went from based on personal knowledge to having no
23   knowledge, you know.   I mean, I can't -- it's kind of hard to
24   work with something like that.
25             MR. SARELSON:     Your Honor, if Ms. Moore has group
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 1   chats that I'm not aware of or they had some meet -- I mean,
 2   this is the first I've ever heard of there being a meeting
 3   between my client and the plaintiff.         I mean, I have -- I have
 4   concerns about the potential truthfulness of any testimony.
 5   There's --
 6                THE COURT:   You'll have to address that at trial.
 7                MS. MOORE:   Can I ask one more question?
 8                THE COURT:   Yes.
 9                MS. MOORE:   Why -- what was the basis for the
10   accusation that I altered a wage agreement that didn't exist?
11   I mean, we all know that that didn't exist.         I mean, why was he
12   saying that?     I mean, you said you had it, you said my attorney
13   sent it to you, so where is it?      I mean, why -- what was --
14   where did that even come from?
15                THE COURT:   Well, if there's a person to ask about
16   that, you'll have to raise that at trial.         I don't know that
17   there will be.
18                How long do you all need, by the way, for opening
19   statements?
20                MS. MOORE:   Um, I'm going to say probably 30 to
21   45 minutes at the most.
22                THE COURT:   For the defense?
23                MR. SARELSON:   Your Honor, probably 20 minutes.
24   I don't -- I don't -- I don't have much to say.        Probably just
25   20 minutes is more than fine.
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 1              MS. MOORE:    Does the opening statement include
 2   presenting whatever evidence, whatever documents I have to you,
 3   or is that separate?    Is that after the opening statement?
 4              THE COURT:    No, the opening statement is just a
 5   general statement to the jury about what you believe the
 6   evidence will show.     You don't actually introduce evidence
 7   during the opening statement.
 8              MS. MOORE:    Okay.    Gotcha.
 9              THE COURT:    And you have to be careful to curtail
10   your opening statement to admissible facts, not just anything
11   you want to talk about in general.
12              MS. MOORE:    Yes.
13              THE COURT:    For example, you can't tell the jury that
14   other people told you that Mr. Marquez treated other people
15   this way, because that's hearsay --
16              MS. MOORE:    Right.     I understand.
17              THE COURT:    -- and you won't be able to say that kind
18   of stuff in your opening statement, it has to be limited to
19   things that are admissible in this trial.
20              MS. MOORE:    Exactly.    Yes.   I understand.   I know
21   that.   I understand.
22              THE COURT:    And I'll just then set aside 30 minutes
23   for the plaintiff and 20 minutes for the defense, since the
24   plaintiff bears the burden of proof.
25              MS. MOORE:    Sounds good.
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 1              THE COURT:   Anything else?
 2              MS. MOORE:   Not that I can think of.
 3              MR. SARELSON:    Nothing for defense.
 4              THE COURT:   Let me read one thing before I let you
 5   all go.   Give me one second.
 6              All right.   I will excuse you all now.        I will see
 7   you on the 7th of August.
 8              MS. MOORE:   Okay.    Thank you.
 9              MR. SARELSON:    Thank you, Your Honor.
10              THE COURT:   Thank you.     We're dismissed.
11                                   - - - - -
12                 (Proceedings concluded at 2:40 p.m.)
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 1                        C E R T I F I C A T E
 2
 3             This is to certify that the foregoing transcript of
 4   proceedings taken in a preliminary pretrial conference in the
 5   United States District Court is a true and accurate transcript
 6   of the proceedings taken by me in machine shorthand and
 7   transcribed by computer under my supervision, this the 2nd day
 8   of June, 2023.
 9
10
11                                         /S/ DAVID J. COLLIER
12
13                                        DAVID J. COLLIER
14                                        OFFICIAL COURT REPORTER
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